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                                 UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION

     INTERNET SOLUTIONS
     CORPORATION,

                                    Plaintiff,

     -vs-                                                     Case No. 6:07-cv-1740-Orl-22KRS

     TABATHA MARSHALL,

                             Defendant.
     ______________________________________

                                                 ORDER

                                         I. INTRODUCTION

            Plaintiff, Internet Solutions Corporation (hereinafter “ISC”) filed its complaint on
     November 1, 2007, against the Defendant, Tabatha Marshall (hereinafter “Marshall”) for
     defamation, trade libel, and injurious falsehood. ISC seeks compensatory and punitive
     damages against Marshall. ISC also seeks permanent injunctive relief to prevent Marshall
     from disseminating any defamatory or injurious information relating to ISC. (Doc. 1 at 1.)
     On November 3, 2007, Marshall was personally served in the state of Washington. (Doc. 4
     at 2.) On November 20, 2007, Marshall filed a motion to dismiss asserting lack of subject
     matter and personal jurisdiction. Marshall claims that (1) ISC failed to establish a proper
     basis for subject matter jurisdiction, (2) ISC is unable to affirmatively support the
     complaint’s conclusory jurisdictional allegations and cannot establish personal jurisdiction,
     and (3) there is no basis for the exercise of personal jurisdiction over Marshall. (Doc. 4 at 1-
     2.)

                                          II. BACKGROUND

            ISC is a Nevada for-profit corporation, which has its principal place of business in
     Orlando, Florida. (Doc. 1 at 1.) Marshall is a private individual who resides in the State of
     Washington. Marshall Declaration (Doc. 5 at 1.) ISC operates various employment
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     recruiting and internet advertising websites. ISC alleges that Marshall entered into the state
     of Florida to commit a tortious act through internet postings on “www.tabathamarshall.-
     com.” Further, ISC claims that Marshall’s website or weblog contains numerous
     defamatory statements, alleging that ISC engages in on-going criminal activity, scams and
     phishing. ISC also asserts that Marshall knowingly published these false statements with
     the intent to harm ISC’s business reputation. ISC contends that personal jurisdiction over
     Marshall is proper since Marshall posted derogatory information specifically relating to an
     identified entity in a foreign forum. (Doc. 12 at 5, ¶ 3.) ISC alleges that the internet
     postings caused injury to ISC’s business in Florida.

            Marshall asserts that jurisdiction is not proper since Marshall is a resident of
     Washington state and does not have sufficient contacts with Florida. Marshall claims that
     she does not own or lease property in the state of Florida, does not operate a business of any
     kind, has only visited Florida on one occasion (which had no connection to her website
     “www.tabathamarshall.com”), has never placed advertisements on the website, receives no
     compensation for the website and has never distinguished or targeted Florida individuals.
     Marshall Declaration (Doc. 5 at 1-2.)

                                   III. QUESTIONS PRESENTED

     A. Whether the district court has subject matter jurisdiction in the case at bar.

     B. Whether the district court can exercise personal jurisdiction over the non-resident
     defendant (Marshall) pursuant to Fla. Stat. 48.193(1)(b) and the Due Process Clause of the
     U.S. Constitution.

                                             IV. ANALYSIS

                                    A. Subject Matter Jurisdiction
            Pursuant to 28 U.S.C.A.§ 1332, subject matter jurisdiction is proper in federal court
     when there is a matter in controversy between citizens of different states and “where the
     matter in controversy exceeds the sum or value of $ 75,000.” 28 U.S.C.A.§ 1332. This case
     involves a controversy that exceeds the sum or value of $75,000. (Doc. 1 at 2.) ISC is a

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     Nevada for-profit corporation, which has its principal place of business in Orlando, Florida.
     (Doc. 1 at 1.) Marshall is a private individual who resides in the State of Washington.
     Marshall Declaration (Doc. 5 at 1.) Therefore, pursuant to 28 U.S.C.A.§ 1332, this court
     has subject matter jurisdiction based on diversity of citizenship.1 28 U.S.C.A.§ 1332
     (2008).
                                              B. Personal Jurisdiction
               A district court’s determination of personal jurisdiction over a nonresident
     defendant generally entails a two-part inquiry. First, the court must determine whether the
     exercise of jurisdiction is appropriate under Florida’s long-arm statute. Sloss Indus. Corp v.
     Eurisol, 488 F.3d 922, 925 (11th Cir. 2007) (citing Sculptchair, Inc. v. Century Arts, Ltd., 94
     F.3d 623, 626 (11th Cir. 1996)). Second, the court must determine whether there are
     sufficient minimum contacts with the forum state to satisfy the Due Process Clause of the
     U.S. Constitution and traditional notions of fair play and substantial justice. See
     Sculptchair, 94 F.3d at 626 (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316
     (1945)). The two-part inquiry must be satisfied before the court can properly exercise
     personal jurisdiction over a nonresident defendant. Madara v. Hall, 916 F.2d 1510, 1514
     (11th Cir. 1990).

               “The plaintiff bears the burden of establishing a prima facie case of personal
     jurisdiction by ‘[p]resent[ing] enough evidence to withstand a motion for directed verdict.’”
     Goforit Entm't LLC v. Digimedia.com L.P., 513 F. Supp. 2d 1325, 1328 (M.D. Fla. 2007)
     (quoting Stubbs v. Wyndham Nassau Resort & Crystal Palace Casino, 447 F.3d 1357, 1360
     (11th Cir. 2006)). “If ‘the defendant submits affidavits contrary to the allegations in the
     complaint, the burden shifts back to the plaintiff to produce evidence supporting personal
     jurisdiction, unless the defendant’s affidavits contain only conclusory assertions that the
     defendant is not subject to jurisdiction.’” Goforit, 513 F. Supp. 2d at 1328 (quoting Stubbs,
     447 F.3d at 1357).

                                           1. Florida Long-Arm Statute


               1
                The Defendant raised an issue of pendant jurisdiction in the complaint. (Doc. 1.) The court has determined that
     there is subject matter jurisdiction based on diversity of citizenship. Therefore, pendant jurisdiction is a non-issue.

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             ISC claims that Marshall is subject to personal jurisdiction under Florida’s long-arm
     statute § 48.193(1)(b)2 because (1) Marshall committed intentional torts in the State of
     Florida through the internet and (2) caused harm to ISC’s business in Florida. (Doc. 12 at
     2.) The Eleventh Circuit has established that “jurisdiction may be found in certain instances
     where an out-of-state defendant commits a tort that produces an injury in Florida.” Horizon
     Aggressive Growth, L.P. v. Rothstein-Kass, P.A., 421 F.3d 1162, 1168 (11th Cir. 2005). The
     court assumes for the purposes of deciding the instant motion that the tortious conduct
     element of the long-arm statute has been satisfied.

              However, ISC bears the burden of establishing a prima facie case of personal
     jurisdiction through the long-arm statute. ISC contends that Marshall committed tortious
     conduct through her website, which caused injury to ISC’s business in Florida. Specifically,
     ISC alleged that Marshall made false and defamatory statements on her website which
     harmed ISC’s reputation in the community, deterred third persons from associating with ISC
     and impacted ISC’s business revenues. (Doc. 1 at 3-7.)

              Marshall has not adequately rebutted ISC’s allegation of long-arm jurisdiction based
     on the claim that the tort was committed in Florida and that injury resulted in Florida. ISC
     has made sufficient allegations in its complaint that Marshall committed tortious conduct
     within the State of Florida as defined by Florida’s long-arm statute. Marshall’s affidavit
     does not rebut ISC’s claim that there is jurisdiction under Florida’s long-arm statute. The
     affidavit explains the lack of minimum contacts that Marshall has with Florida; asserts that
     Marshall has never done business in Florida; denies directing any communications into
     Florida; and denies committing any tort in Florida. Marshall Declaration (Doc. 5 at 2-4.)
     The affidavit does not discuss the issue of an injury resulting to ISC’s business in Florida. It
     does not adequately refute that a tort was committed in Florida. The affidavit simply



             2
               The court does not need to discuss § 48.193(2) because ISC concedes in response to motion to dismiss that it
     is not proceeding under this provision. (Doc. 12 at 1.)

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     concludes that Marshall did not commit any tort in the State of Florida. (Doc. 5 at 3.)
     Marshall’s affidavit is insufficient to shift to ISC the burden of producing evidence
     supporting jurisdiction because it does not adequately rebut the claim that Marshall
     committed a tort in Florida.

            Therefore, the court finds that ISC has satisfied its burden and assumes that there is
     jurisdiction under Florida’s long arm statute § 48.193(1)(b) for the purposes of deciding the
     instant motion. However, the personal jurisdiction inquiry does not end here. The “court
     must now assess whether [ISC] has established the existence of sufficient minimum contacts
     and whether Due Process is otherwise satisfied.” Full Sail, Inc. v. Spevack, No. 6:03-cv-
     887-Orl-31JGG, 2003 U.S. Dist. LEXIS 20631, at *8 (M..D. Fla. 2003).

                                             2. Due Process
            “[D]ue process requires only that in order to subject a defendant to a judgment in
     personam, if he be not [sic] present within the territory of the forum, he have certain
     minimum contacts with it such that the maintenance of the suit does not offend ‘traditional
     notions of fair play and substantial justice.’” Goforit, 513 F. Supp. 2d at 1329 (citing
     International Shoe, 326 U.S. at 316 (quoting Milliken v. Meyer, 311 U.S. 457, 463 (1940)).
     The plaintiff bears the burden of establishing a prima facie case of personal jurisdiction and
     that the constitutional requirement of minimum contacts has been satisfied. Goforit, 513 F.
     Supp. 2d at 1328 (citing Stubbs, 447 F.3d at 1360).

            The Eleventh Circuit in Posner adopted a three-part test to determine whether the
     minimum contacts requirement has been satisfied. “First, the contacts must be related to the
     plaintiff's cause of action.” Posner v. Essex Ins. Co., 178 F.3d 1209, 1220 (11th Cir. 1999)
     (citing Vermeulen v. Renault, U.S.A., Inc., 985 F.2d 1534, 1546 (11th Cir. 1993)). “Second,
     the contacts must involve some act by which the defendant purposefully avails itself of the
     privilege of conducting activities within the forum . . . Third, the defendant’s contacts with
     the forum must be such that the defendant should reasonably anticipate being haled into
     court there.” Posner, 178 F.3d at 1220 (citing Vermeulen, 985 F.2d at 1546).



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              ISC contends that Marshall committed tortious acts by posting defamatory comments
     on her website and targeting individuals in Florida. ISC further alleges that Marshall’s
     conduct resulted in contact or communications “into” Florida.                     However, “the minimum
     contacts must be ‘purposeful’ contacts.” Goforit, 513 F. Supp. 2d at 1329 (citing Beverly
     Hills Fan Co. v. Royal Sovereign Corp., 21 F.3d 1558, 1565 (Fed. Cir. 1994)). In Calder
     v. Jones, the United States Supreme Court found that an alleged single tortious act by a
     National Enquirer editor and reporter in Florida was sufficient to satisfy minimum contacts
     with the forum state of California. Calder v. Jones, 465 US 783, 789-790 (1984). The two
     National Enquirer employees were Florida residents who were sued in California for libel.
     The court reasoned that the writers purposefully availed themselves by specifically targeting
     a California audience, making large distributions into California, and publishing articles
     about a California resident. Id. The court further explained that the alleged tortious conduct
     was purposeful and calculated to cause injury in California and therefore the editors must
     have reasonably anticipated being haled into a California court. Id. at 790-791.
              Unlike Calder, in the case at bar there is no evidence that Marshall specifically
     targeted Florida residents. Marshall’s website was not only made available to Florida
     residents, but the website was equally accessible to persons in all states. Under the Calder
     analysis, even if Marshall’s alleged tortious conduct occurred or resulted in injury in
     Florida, the single tortious act would not be sufficient to satisfy minimum contacts absent a
     showing of purposeful availment. According to Marshall’s affidavit, her contacts with
     Florida were nearly nonexistent.3 (Doc. 5 at 2-4.) ISC has not provided evidence to the
     contrary. Besides the web site postings do not establish any Florida-specific postings or
     conduct by Marshall.
               In addition, the postings do not specifically mention Florida or its residents nor do
     they amount to purposeful availment. “The requirement for purposeful minimum contacts


              3
               Marshall indicated in the affidavit that she visited Florida on one occasion in 2004, but insists the visit was work
     related and was in no way connected to her web site. However, ISC does not contend that this contact is relevant to
     minimum contacts for purposes of personal jurisdiction.

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     helps [to] ensure that non-residents have fair warning that a particular activity may subject
     them to litigation within the forum." Goforit, 513 F. Supp. 2d at 1329 (citing Beverly Hills,
     21 F.3d at 1565). Marshall’s conduct is distinguishable from the purposeful contacts made
     in the Calder case. Marshall has not made Florida-specific contacts. The mere fact that
     Marshall’s website was accessible to residents everywhere and a resident of Florida
     responded does not amount to purposeful availment.4
              “. . . [T]he defendant’s contacts with the forum must be such that the defendant
     should reasonably anticipate being haled into court there.” Posner, 178 F.3d at 1220 (citing
     Vermeulen, 985 F.2d at 1546). ISC contends that Marshall should have known that her
     conduct would subject her to litigation in the court’s jurisdiction. The fact that Marshall
     posted comments on her website “www.tabathamarshall.com,” which were accessible to
     residents everywhere does not indicate that Marshall could reasonably anticipate being
     haled into a Florida court. Based on the information presented, there is nothing to support
     that Marshall should reasonably anticipate being called before a Florida court to answer for
     her alleged conduct.
               The burden of establishing minimum contacts and ultimately a prima facie case of
     personal jurisdiction remains on ISC. Initially, ISC made sufficient allegations that
     Marshall’s contact with Florida satisfied the federal constitutional requirement of minimum
     contacts. After ISC satisfied its initial burden, Marshall submitted an affidavit which
     controverts ISC’s minimum contact allegations. The affidavit explains the lack of minimum
     contacts that Marshall has with Florida; asserts that Marshall has never done business in
     Florida and denies directing any communications into Florida. Marshall Declaration (Doc.
     5 at 2-4.)


              4
               “[P]ersonal jurisdiction surely cannot be based solely on the ability of District residents to access the defendants
     websites, for this does not by itself show any persistent course of conduct by the defendants in the District. Access to a
     website reflects nothing more than a telephone call by a District resident to the defendant computer servers, all of which
     apparently are operated outside of the District.” Goforit, 513 F. Supp. 2d at 1330 (quoting GTE New Media Servs. v.
     BellSouth Corp., 199 F.3d 1343, 1348 (D.C. Cir. 2000)).




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             Marshall’s affidavit rebuts ISC’s claim that there is jurisdiction under the minimum
     contacts requirement. Marshall’s affidavit provides more than conclusory assertions by
     giving specific explanations as to why Marshall has not satisfied the “minimum contacts”
     requirement. For example, Marshall does not simply conclude that jurisdiction is improper,
     but specifically details the lack of contacts with Florida. “If ‘the defendant submits
     affidavits contrary to the allegations in the complaint, the burden shifts back to the plaintiff
     to produce evidence supporting personal jurisdiction, unless the defendant's affidavits
     contain only conclusory assertions that the defendant is not subject to jurisdiction.’”
     Goforit, 513 F. Supp. 2d at 1328 (quoting Stubbs, 447 F.3d at 1357). Marshall’s affidavit
     was sufficient to shift the burden back to ISC. ISC did not refute or provide supporting
     evidence that there were minimum contacts after Marshall submitted her affidavit.
     Therefore, ISC has failed to meet its burden of establishing sufficient minimum contacts,
     and the court determines that exercising personal jurisdiction over Marshall would not
     comport with the requirements of Due Process or the traditional notions of fair play and
     substantial justice.
                                             V. CONCLUSION
             For the foregoing reasons, personal jurisdiction over the nonresident defendant in
     this court would be improper since there are not sufficient minimum contacts to satisfy the
     principles of the Due Process Clause.
             Accordingly, it is ORDERED as follows:

             1. Defendant’s Motion to Dismiss Complaint for Lack of Jurisdiction filed on

     November 20, 2007, (Doc. No. 4) is GRANTED.

             2. This case is DISMISSED for lack of personal jurisdiction.

             3. The Clerk shall close the case.

             DONE and ORDERED in Chambers, in

     Orlando, Florida on April 7, 2008.



     Copies furnished to:


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     Counsel of Record




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